      Case 3:21-cv-00599-DWD        Document 197-1 Filed 10/22/24   Page 1 of 105   Page
WILEY, et al. v. YOUNG, et al.              ID #1289
                                           8/16/2024                         DR. JUDY SCHMIDT

                    UNITED STATES DISTRICT COURT                               EXHIBIT A
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

   KEYANA WILEY,                                 )
   Administrator of the                          )   No.
   Estate of OMAR MCCULLOUGH                     )   3:211-cv-00599-DWD
   #K77858                                       )
                                                 )   Judge David W.
                Plaintiff,                       )   Dugan
                                                 )
         -vs-                                    )
                                                 )
   JUSTIN YOUNG, C. WALKER,                      )
   ANGELA WACHTOR, JUSTIN                        )
   DUPREY, JANE DOE, WEXFORD                     )
   HEALTH SOURCES, INC., and                     )
   NURSE CYNTHIA,                                )
                                                 )
                Defendants.                      )
                                                 )


                      Taken at 1015 Mount Avenue
                               Suite B
                           Missoula, Montana
                  Friday, August 16, 2024 - 8:00 a.m.


                                 D E P O S I T I O N
                                           OF
                                  DR. JUDY SCHMIDT




   Reported by Emily Brandon, Jeffries Court
   Reporting, Inc., 1015 Mount Avenue, Suite B,
   Missoula, Montana 59801, (406) 721-1143,
   Freelance Court Reporter for the State of Montana,
   residing in St. Ignatius, Montana, jcrcourt@montana.com

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
      Case 3:21-cv-00599-DWD        Document 197-1 Filed 10/22/24   Page 2 of 105   Page
WILEY, et al. v. YOUNG, et al.              ID #1290
                                           8/16/2024                         DR. JUDY SCHMIDT

                                                                                     Page 11

 1               Q.      I think we were provided a timeline.
 2                       MS. KINKADE:           Did you have a paper copy
 3   of that?            Did you give that to me yesterday?
 4                       MR. WEIL:         I gave that to you yesterday.
 5               Q.      (BY MS. KINKADE)              Did you prepare a
 6   summary of your opinions in this case?
 7               A.      They're in my report.
 8               Q.      So, yesterday, in the Lenn Reed case,
 9   you had a separate document that you prepared
10   called a summary?
11               A.      Yes.
12               Q.      You did not make that sort of document
13   in this case?
14               A.      No.      I did not make time last night.                          We
15   were here pretty late.
16                       MR. WEIL:         There's this timeline.
17                       THE WITNESS:           Yes.
18               Q.      (BY MS. KINKADE)              So after preparing
19   this report, you didn't review any additional
20   records or literature?
21               A.      That's correct.
22               Q.      Did you create any other documents,
23   other than this report and the timeline?
24               A.      No.      No.
25               Q.      Yesterday, we talked a little bit about

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
      Case 3:21-cv-00599-DWD        Document 197-1 Filed 10/22/24   Page 3 of 105   Page
WILEY, et al. v. YOUNG, et al.              ID #1291
                                           8/16/2024                         DR. JUDY SCHMIDT

                                                                                     Page 56

 1   Pinckneyville Correctional Center?
 2               A.      My understanding --
 3                       MR. WEIL:         Object to form.
 4               A.      I understand that Wexford employs the
 5   people at the correctional centers.
 6               Q.      (BY MS. KINKADE)             Did you assume Wexford
 7   employed all the people at the correctional
 8   centers?
 9               A.      I didn't make that assumption, no.
10               Q.      You discuss an incident in June of 2016
11   where Mr. McCullough presented to the healthcare
12   unit with abdominal pain.
13               A.      Yes.
14               Q.      He was seen by different practitioners,
15   include Angel Rector, correct?
16               A.      That's correct.
17               Q.      And Dr. Scott; is that correct?
18               A.      Yes, and Nurse Peggy Stewart.
19               Q.      What part of your report are you
20   referring to?
21               A.      My timeline.
22               Q.      Oh, okay.         Did you provide opinions on
23   Peggy Stewart in your report?
24                       MR. WEIL:         Object to form.
25               Q.      (BY MS. KINKADE)             Or are you just being

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
      Case 3:21-cv-00599-DWD        Document 197-1 Filed 10/22/24   Page 4 of 105   Page
WILEY, et al. v. YOUNG, et al.              ID #1292
                                           8/16/2024                         DR. JUDY SCHMIDT

                                                                                     Page 73

 1   don't have to be a doctor to get UpToDate.
 2               Q.      There's not access to this article
 3   without a paid membership to UpToDate?
 4               A.      Right.        You have to pay for it.
 5               Q.      And you didn't provide a copy of this
 6   article with your report; is that right?
 7               A.      Oh, I think I did give you copies of all
 8   my articles.                I copied everything.
 9               Q.      The report had no articles attached to
10   it.
11               A.      Oh, I subsequently gave him all that
12   information, as requested.
13                       MR. WEIL:         We produced it.
14               Q.      (BY MS. KINKADE)             After your report, you
15   provided certain publications.
16               A.      Everything.          I gave you everything.                  I
17   gave you the -- everything.
18               Q.      There's two things going on here:                          One
19   is, at the time of your report -- You know there
20   was a deadline for when your report was due,
21   right?
22               A.      Yes, I think so.
23               Q.      And your report was late.                   You know
24   that, right?
25               A.      Oh, I don't know.

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
      Case 3:21-cv-00599-DWD        Document 197-1 Filed 10/22/24   Page 5 of 105   Page
WILEY, et al. v. YOUNG, et al.              ID #1293
                                           8/16/2024                         DR. JUDY SCHMIDT

                                                                                     Page 74

 1               Q.      At that time, you don't provide all the
 2   publications that you relied on?
 3               A.      I wasn't asked to provide them.                        I was
 4   asked to provide them after I wrote the report,
 5   and I provided everything.                       I don't know the exact
 6   date, but I could look it up.
 7               Q.      You know without a membership this
 8   report isn't available?
 9               A.      You have to pay to get UpToDate, but I
10   gave you that information before today.
11               Q.      I have yet to see it.                But I reached out
12   after -- just a day or two before your
13   depositions, because these articles were not
14   available -- made available; are you aware of
15   that?
16               A.      I emailed all references on 8/3/24,
17   according to my information.
18               Q.      Including this UpToDate article?
19               A.      I sent all references on 8/3/24.
20               Q.      And you're confident of that?
21               A.      Yes.
22               Q.      So they should have been available on
23   August 6th, 2024?
24               A.      Yes.       That's what I've got in my notes.
25               Q.      So in this article, where were you

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
      Case 3:21-cv-00599-DWD        Document 197-1 Filed 10/22/24   Page 6 of 105   Page
WILEY, et al. v. YOUNG, et al.              ID #1294
                                           8/16/2024                         DR. JUDY SCHMIDT

                                                                                     Page 88

 1               Q.      So 4/12, he reported acid reflux?
 2               A.      That's what I have, yeah.
 3               Q.      A history of 10 years of it?
 4               A.      Yes.
 5               Q.      Is acid reflux abdominal pain?
 6               A.      Could be.
 7               Q.      Did Mr. McCullough report abdominal pain
 8   with his acid reflux?
 9               A.      I don't know.
10               Q.      The subjective on April 12, 2016, says,
11   "I get acid in my throat."
12               A.      Mm-hmm.
13               Q.      Is that a yes?
14               A.      Oh, I'm sorry.            Do you want me to look
15   at the note?                I'm sorry.        What do you want?
16               Q.      I don't know if you have it in your
17   timeline or not.                  If you need to look at the note,
18   I can provide it to you.
19                       But the question is, Mr. McCullough
20   stated, "I get acid in my throat"?
21               A.      I'd like to look at the note, if I may.
22               Q.      This is Wiley DCC MR 11.
23               A.      Okay.       And your question is, what does
24   the note say?
25               Q.      I read the subjective portion.                       Read the

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
      Case 3:21-cv-00599-DWD        Document 197-1 Filed 10/22/24   Page 7 of 105   Page
WILEY, et al. v. YOUNG, et al.              ID #1295
                                           8/16/2024                         DR. JUDY SCHMIDT

                                                                                    Page 104

 1   like I said, 6/22/17.                    So there's no notes in that
 2   interim to tell me what's going on with that lower
 3   quadrant abdominal pain, so I don't know.                                  But I
 4   know there's a note from 1/3/19 that he reported
 5   constipation and abdominal pain.
 6               Q.      Because he reported a history of
 7   abdominal pain in 2017, that makes you believe he
 8   reported abdominal pain in 2018 and it wasn't
 9   documented?
10               A.      It makes me wonder what was going on
11   with his abdominal pain exactly in 2018.                                 I mean,
12   did he -- he just kept getting reassured that he
13   was okay and take fiber and fluids and stuff.                                    We
14   don't have any medical record in there to help us
15   out.
16               Q.      Well, we have medical records from 2018.
17   Just none of them talk about abdominal pain,
18   right?
19               A.      I've only got a record from 3/29/18 that
20   said he's HIV negative.                     I don't have anything
21   else that we haven't discussed.
22               Q.      And you're looking at your timeline?
23               A.      Yeah.
24               Q.      So we talked about, on January 2nd,
25   2018, he was seen for prostate issues?

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
      Case 3:21-cv-00599-DWD        Document 197-1 Filed 10/22/24   Page 8 of 105   Page
WILEY, et al. v. YOUNG, et al.              ID #1296
                                           8/16/2024                         DR. JUDY SCHMIDT

                                                                                    Page 107

 1               A.      It says intake screening.
 2               Q.      It's got his weight and vitals and
 3   questions about his health status?
 4               A.      It's got his weight and vital signs,
 5   yes.
 6               Q.      And you don't see on there a report of
 7   abdominal pain?
 8               A.      No.
 9               Q.      Before we transition to Danville, what
10   note were you referencing that you said he
11   reported pain for a year prior to 2017?
12               A.      The 6/22/17 note.
13               Q.      Oh, that's the left-lower quadrant pain?
14               A.      Yes.       Lower quadrant abdominal pain and
15   episodes of constipation and diarrhea, one year.
16               Q.      It says there are episodes -- So I'll
17   show this to you, but -- because you're reading
18   from a timeline, so I just want to make sure.
19                       Page 18 says, self-reports left-lower
20   quadrant abdominal pain times one year.                                Under
21   objective, it says, reports a moderate -- I don't
22   know what that word.                    You might have to help me
23   with it -- pain to the left-lower quadrant with
24   episodes of constipation/diarrhea.                             Tell me if I
25   got that right or wrong.

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
      Case 3:21-cv-00599-DWD        Document 197-1 Filed 10/22/24   Page 9 of 105   Page
WILEY, et al. v. YOUNG, et al.              ID #1297
                                           8/16/2024                         DR. JUDY SCHMIDT

                                                                                    Page 120

 1               A.      No.      The alkaline phosphatase was
 2   elevated at 129, with normal 40 to 125.                                She had
 3   that, I think, at the top of her sheet, if I
 4   remember correctly.
 5               Q.      This is -- I'm showing you 6 and 7,
 6   because maybe I'm not seeing what you're talking
 7   about.
 8               A.      Oh, she wrote AST, but it's alk phos.
 9   She actually wrote AST, but it's actually the alk
10   phos.
11               Q.      The alk phos was 129?
12               A.      Yeah.
13               Q.      You don't write down the page numbers of
14   the records you review in your timeline, do you?
15               A.      I don't.
16               Q.      I believe this is the lab you're
17   referring to.                It's page 223.
18               A.      Okay.       Yeah.      Right.       The alk phos was
19   129.
20               Q.      And what's the most common causes
21   of -- First, let me ask you this:                              Is that a
22   minimally, moderately or seriously elevated alk
23   phos?
24               A.      That's an elevated alkaline phosphatase.
25   The guidelines doesn't say to do something

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 10 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1298
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 129

 1               A.      I just said that he had metastatic colon
 2   cancer at that point, 1/3/19.                          He had constipation
 3   and abdominal pain.
 4               Q.      So your report then jumps to June 2019.
 5               A.      You're on page 32?
 6               Q.      Yeah.
 7               A.      Okay, thank you.
 8               Q.      So I'm not seeing, unless I'm missing
 9   it, further discussion about Ms. Moton.
10               A.      No, I don't think so.
11               Q.      Okay.       And then I'm not seeing any
12   further discussion about care provided at
13   Danville, and tell me if I'm missing it.
14               A.      In my discussion?
15               Q.      Mm-hmm.
16               A.      In my discussion, I just -- I went from
17   January to June in the discussion section of the
18   report.
19               Q.      Okay.       And is your --
20               A.      Oh, sorry.          In the timeline, I went over
21   the other notes.                  Like, especially that 2/20/19
22   nurse note I just mentioned.
23               Q.      Well, what is the purpose of your
24   discussion section of your report?
25               A.      Just to discuss some of the pertinent

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 11 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1299
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 130

 1   findings.             Compliment the timeline.
 2               Q.      And then in your conclusion section --
 3   What's the conclusion section intended to tell us?
 4               A.      Some of the conclusions.
 5               Q.      Your overarching opinions?
 6               A.      Some of them, yes.
 7               Q.      It talks about a diagnosis in January of
 8   '17, and your opinion as to his prognosis in
 9   January of '17 if diagnosed, right?
10               A.      Yes.
11               Q.      Then it jumps to January 2019; do you
12   see that?
13               A.      I'm sorry.          What?      Can you go back a
14   little bit?                 I apologize.
15               Q.      I just said, it jumps to January 2019.
16               A.      You're talking about my conclusion and
17   what I talk about?
18               Q.      Yes.
19               A.      I talk about January 2017.                     I talk about
20   June 2017.
21               Q.      Show me where --
22               A.      What?
23               Q.      Show me where you talk about June 2017.
24               A.      It's in the middle of the conclusion
25   section, "By June 2017."

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 12 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1300
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 140

 1   gears a little bit, and I want to talk to you
 2   about doubling time.
 3                       What is doubling time?
 4               A.      Doubling time, in reference to what
 5   we're doing here, is the doubling time of volume
 6   of a tumor.
 7               Q.      And how -- Tell me everything you know
 8   about that.
 9               A.      Doubling time data, some of the original
10   papers are back in 1956.                       It's a logarithmic
11   formula.            Dr. Schwartz, Dr. Collins and others
12   have written extensively on it.                           UpToDate talks
13   about it.             It's something we use in cancer
14   medicine.             Certain cancers have certain doubling
15   times, average doubling times.
16               Q.      What is the formula?
17               A.      It's a logarithmic formula I don't have
18   memorized.
19               Q.      Do you use the formula yourself?
20               A.      No.      Thank God, there's a computer
21   program I can just punch in the numbers, and it
22   all comes out for me.
23               Q.      Is that the website that you listed in
24   your report?
25               A.      That radclass.mudr is the website I use.

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 13 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1301
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 141

 1               Q.      So what's the premise?                 Like, what is
 2   the concept behind doubling time and how it can
 3   tell us about what cancer does?
 4               A.      Doubling time is the doubling of volume
 5   of the tumors.                 It's a logarithmic formula.                      I'm
 6   not sure what else you're asking me.                               We use it to
 7   estimate the size of tumors at different times.
 8   So different tumors have different doubling times.
 9   Bolin has done work in colon cancer and other
10   people.
11               Q.      When you say that the doubling time is
12   the amount of time it takes a tumor to double in
13   volume, how does that relate to the size of the
14   tumor?
15               A.      Well, in the computer program, thank
16   goodness, we can use either diameter of the tumor
17   or volume of the tumor and calculate the doubling
18   time.
19               Q.      Is the formula different for volume as
20   it is for size?
21               A.      For diameter?            I'm not sure of that.                 I
22   don't know the intricacies of the website,
23   logarithmic protocol.                     I'm sorry.           I'm just not a
24   mathematician.
25               Q.      Correct me if I'm wrong, but it sounds

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 14 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1302
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 142

 1   like you don't know the method for determining the
 2   doubling time based on the size of a tumor?
 3               A.      Yes.       It's a logarithmic formula, and
 4   people like Dr. Schwartz and Dr. Collins --
 5   there's literature -- You can look up the
 6   logarithmic formula in that literature, if you'd
 7   like.         And then, thank goodness, there's a
 8   website, radclass.mudr.org, that we can
 9   actually -- it's a computer program -- you can
10   actually put in either diameter or volume, and you
11   can get the doubling time of the tumors.
12               Q.      And I understand those things exist.
13                       But as for your knowledge, are you an
14   expert in the formula for doubling time of a tumor
15   based on its size?
16                       MR. WEIL:          Object to form.
17               A.      I'm not a mathematician.                   I don't know
18   logarithmic formulas.                     I depend on Dr. Schwartz
19   and Dr. Collins and others to help me out.
20   There's a computer program I can use that gives me
21   the doubling time of the tumors based on their
22   logarithmic formulas.                     I'm not a mathematician.
23               Q.      (BY MS. KINKADE)              In order to come to
24   your opinions, you're relying on, one, the
25   formula, right?

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 15 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1303
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 143

 1               A.      Yes.
 2               Q.      And you're also -- It sounds like you're
 3   relying on this website that you use to be
 4   accurate; is that fair?
 5               A.      I use the website to help me with
 6   doubling time data.
 7               Q.      And if that website was inaccurate, it
 8   would affect your opinions?
 9               A.      Well, there's no reason to suspect it's
10   inaccurate.                 It's data going back to 1956 and
11   Dr. Schwartz's -- the original reports.
12               Q.      That wasn't my question, though.
13               A.      Oh.
14               Q.      If the website's formula is inaccurate,
15   it would affect your opinions?
16               A.      Well, yes.          I mean...
17               Q.      And tell me everything you know about
18   this website.
19               A.      This website is a progression of a
20   previous website we used to use.                           There was one
21   written by Dr. Jud previously that used that same
22   logarithmic formula.                    And Dr. Jud died of gastric
23   cancer.           And then this website came online and was
24   an exact duplicate of his data, so I switched
25   years ago to this website from Dr. Jud's formulas.

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 16 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1304
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 145

 1   it's in there.                 Yeah, they just quote the papers.
 2   Dr. Jud actually had the logarithmic formula on
 3   his website.
 4               Q.      What are you looking at right now?
 5               A.      The doubling time calculator on
 6   radclass@mudr.org.
 7               Q.      Okay.       So in your -- Let me back up a
 8   second.
 9                       In your report, you provided doubling
10   time of 112 days, right?
11               A.      Yes, for this case.
12               Q.      So does that mean every 112 days, you
13   expect that Mr. McCullough's tumor doubled in
14   volume?
15               A.      Yeah, that's what I estimated, because
16   it was a poorly-differentiated tumor.
17               Q.      Did it also double in size every 112
18   days?
19               A.      It doubled in volume.                 I don't know what
20   you mean by size, but it doubled in volume.
21               Q.      I can be more specific if you need.
22               A.      Okay.
23               Q.      Did it -- Did Mr. McCullough's cancer
24   double in diameter every 112 days?
25               A.      No, that's volume.               It's a volume.             But

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 17 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1305
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 146

 1   the calculator gives you a diameter as a result.
 2               Q.      In this case, did you have the volume
 3   for Mr. McCullough's?
 4               A.      No, I used diameter.                You can use either
 5   in the formula, diameter or volume.
 6               Q.      And then at any time, did you learn the
 7   volume of Mr. McCullough's cecum tumor?
 8               A.      Cecum tumor, no.              I just knew it was
 9   6 centimeters at surgery.
10               Q.      And you're doing this doubling time
11   based on the primary cecum tumor; is that right?
12               A.      Yeah.
13               Q.      The doubling time, every 112 days -- Let
14   me ask you this:                  Is the concept that tumor cells
15   divide at a predictable rate?
16               A.      They have an average doubling time.                           Is
17   that what you're asking?
18               Q.      Yes.
19               A.      Yes.       They have an average doubling
20   time.
21               Q.      And by that, it means the cells are
22   dividing every 112 days?
23               A.      Roughly, average.
24               Q.      So if you have one, it divides into two,
25   right?

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 18 of 105    Page
WILEY, et al. v. YOUNG, et al.               ID #1306
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                      Page 147

 1               A.      Yes.
 2               Q.      If you have two, now we're dividing into
 3   four?
 4               A.      Sure.
 5               Q.      Right.        Okay.
 6               A.      But we're talking about volume.
 7               Q.      Okay.       And --
 8               A.      And it's a logarithmic formula.                        I wish
 9   I was more of a mathematician for you, but I'm
10   not.
11               Q.      And you don't know the formula for the
12   volume?
13               A.      I don't have it here with me today, but
14   it's on Dr. Schwartz's original publication in
15   1956 and written by others.
16               Q.      Is anything that I just said wrong,
17   where it divides into two and two divides into
18   four?
19               A.      Well, it's just volume doubling.                            It's
20   the volume doubling of the tumor.
21               Q.      And how is that different from what I'm
22   saying?
23               A.      I just want to clarify that it's volume.
24   That's all.
25               Q.      How do you determine volume of a tumor?

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 19 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1307
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 148

 1               A.      You need three dimensions of the tumor.
 2               Q.      Are there -- What are the three
 3   dimensions that you need?
 4               A.      Like the height and -- like the height,
 5   the weight -- It's three-dimensional to do volume.
 6   I always do diameter, because that's what we know,
 7   6 centimeters.
 8               Q.      And then what data did you put into the
 9   calculator in order to come up with your results?
10               A.      That -- We know what day it's
11   6 centimeters.                 We know that that was 6/28/19.
12   And then we're looking for a certain doubling
13   time.         Then I'll put in the date that I'm curious
14   of, and then I'll put in different numbers in that
15   first date until I come up with the doubling time
16   for that particular tumor.
17                       So a poorly-differentiated tumor
18   typically has a doubling time of about 100 days.
19   112 within that one study I quoted, Burke.
20               Q.      So I'm looking at the calculator like
21   you have in front of you.                       It looks like there's a
22   first examination section.
23               A.      Yeah.
24               Q.      So what numbers did you put in for the
25   date?

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 20 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1308
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 150

 1               Q.      For the first box, what did you put in?
 2               A.      Well, so I've got, for example,
 3   4/1/2017, and then I put in 28/6/2019,
 4   60 millimeters, and then put in different numbers
 5   in that diameter for that first exam until I get
 6   the doubling time of 112 days.                          That's what I do.
 7               Q.      Do you have the results of the
 8   calculations here with you?
 9               A.      Yeah.       I thought I supplied all that.
10               Q.      I don't have all that.                 So can you
11   provide me -- Let's take a break, actually,
12   because this is pretty important.                              Can you pull
13   all the results that you got from this radclass
14   input data, and let's make a quick copy of it.
15               A.      Sure.       The 112-day one, or do you want
16   all of them?
17               Q.      I want all of them.
18               A.      Okay, sure.
19                     (Whereupon, the proceedings were in
20   recess at 11:53 a.m. and subsequently reconvened
21   at 12:00 p.m., and the following proceedings were
22   entered of record:)
23   EXHIBITS:
24                       (Deposition Exhibit Number 3 marked for
25   identification.)

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 21 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1309
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 151

 1               Q.      (BY MS. KINKADE)              So the first page, we
 2   see of Exhibit 3, which is a doubling time
 3   calculation of growth rate of a lesion or mass,
 4   correct?
 5                       MR. WEIL:          Exhibit 3 is which document?
 6                       MS. KINKADE:           The whole packet.
 7                       MR. WEIL:          Got it.
 8               Q.      (BY MS. KINKADE)              Is that right?
 9               A.      Yes.
10               Q.      And then on this first page, the first
11   examination date is June 3rd of 2016?
12               A.      Yes.
13               Q.      And I should comment that they do day,
14   month, year.
15               A.      Yes.
16               Q.      Why did you pick June 3rd of 2016?
17               A.      That was an important date of the
18   timeline.             I wanted to know what the size of the
19   tumor was on that date.                      That's when he was seen
20   by the prison.
21               Q.      And then you put a diameter of
22   6 millimeters.                 What is that from?
23               A.      What I explained is I put the date in, I
24   put the date that I know the tumor was
25   60 millimeters, 6/29/19, and then you put

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 22 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1310
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 152

 1   different numbers in under diameter until you get
 2   your doubling time, which is 112 days.
 3               Q.      So --
 4               A.      Do you see where the doubling time is
 5   112 days on there, days in between study and --
 6               Q.      Yeah.       So we're going to really have to
 7   break this down.
 8                       So my question was, where did the
 9   diameter of 6 from first examination come from?
10               A.      Just what I just said.                 I just explained
11   it.
12               Q.      You selected that number?
13                       MR. WEIL:          Object to form.
14               A.      Yeah.       5 doesn't give you 112 days.                      7
15   doesn't give you 112 days.                        6 gives you an 112-day
16   doubling time.
17               Q.      (BY MS. KINKADE)              Okay.        So for this
18   first page, it looks like you're trying to learn
19   if he had a tumor on June 3rd, 2016, and if it was
20   6 millimeters in diameter, what was the doubling
21   time of his cancer --
22                       MR. WEIL:          Object to form.
23               Q.      (BY MS. KINKADE) -- is that right?
24               A.      Not really.           What I wanted to do was --
25   I know the tumor was 60 millimeters on 6/28/19.

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 23 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1311
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 153

 1   My question was -- I know it's a stage I disease
 2   in 2016, but I was curious what the size of the
 3   tumor was.              So I put in the date 6/3/16, and then
 4   I put different numbers in under diameter until I
 5   got 112, which is the doubling time that I
 6   estimated of this tumor.                       So the tumor measured
 7   approximately 6 millimeters on 6/3/16.                                Did that
 8   help?         That's how you use it.
 9               Q.      The number -- So I don't have any
10   questions about the numbers for the second
11   examination, okay?
12               A.      Uh-huh.
13               Q.      The numbers for the first examination,
14   you've told me you picked the date because you
15   thought it was important.
16               A.      Yeah.
17               Q.      And Mr. McCullough was seen on 6/3/2016?
18               A.      Correct.
19               Q.      The number 6 millimeters in diameter for
20   June 3rd, 2016, that's a number that you input
21   into the calculator, right?
22               A.      Right.
23               Q.      And that number 6 millimeters does not
24   come from any of the records?
25               A.      No.      It comes from looking for a

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 24 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1312
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 154

 1   doubling time of 112 days for a
 2   poorly-differentiated tumor.
 3               Q.      So you put in the number 6 as a
 4   guesstimate to try and find a doubling time that
 5   made sense to you?
 6               A.      That made 112 days.
 7                       MR. WEIL:          Object to form.
 8               A.      5 didn't, 7 didn't, 6 did.
 9               Q.      (BY MS. KINKADE)              And so according -- Is
10   that what you did for all these searches?
11               A.      Yeah.       I wanted to know the times -- the
12   tumor size at different dates based on different
13   doubling times.
14                       I also did -- just for information,
15   Dr. Bolin talks about 130-day doubling time.                                    Just
16   for information, put the tumor size in based on
17   his data.             But a poorly-differentiated tumor grows
18   faster, so I used the 112 as the critical doubling
19   time.
20               Q.      And so on this first page, this
21   calculator is telling us that if the tumor was
22   6 millimeters on June 3rd, 2016, and 60
23   millimeters on June 28, 2018, the doubling time
24   would be 112 days?
25               A.      Right.

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 25 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1313
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 155

 1                       MR. WEIL:          Object to form.
 2               Q.      (BY MS. KINKADE)              The second page, which
 3   is the back of page 1, for first examination, you
 4   put in January 4th of 2017?
 5               A.      Yes.
 6               Q.      You put in 9.3 millimeters?
 7               A.      Yes.
 8               Q.      Where did you get that number from?
 9               A.      The same way I did it in the previous.
10   9 doesn't work, 10 doesn't work.                           You try 9.3, you
11   get 112 days.
12               Q.      So is it fair to say you conducted more
13   computations other than the ones you printed off?
14               A.      Well, I'm just curious about the 112
15   doubling time, so, yeah, I'm not going to put in
16   all those numbers.                   No sense.
17                       MR. WEIL:          Object to form.
18               A.      We wanted 112 days, so that's the number
19   you get, 9.3.
20               Q.      (BY MS. KINKADE)              So you did more
21   computations than what you printed off, but you
22   printed off the ones that equalled 112-day
23   doubling time?
24                       MR. WEIL:          Object to form.
25               A.      Yes.       And like I said, I also gave you

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 26 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1314
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 156

 1   130-day.
 2               Q.      (BY MS. KINKADE)              So the second page,
 3   which is the back of the first page, the diameter
 4   of 9.3 millimeters is a number that you put in in
 5   an attempt to reach 112 days?
 6               A.      Yes, for that date, right.
 7                       MR. WEIL:          Object to form.
 8               Q.      (BY MS. KINKADE)              And 9.3 is not a
 9   number you found in the records for the diameter
10   of his cancer?
11               A.      No.
12               Q.      On the third page, you put in June 22nd,
13   2017?
14               A.      Yes.
15               Q.      And this diameter of 13 millimeters, is
16   that a number that you put in in attempt to reach
17   112 days?
18                       MR. WEIL:          Object to form.
19               A.      Precisely.
20               Q.      (BY MS. KINKADE)              That number for the
21   diameter is not based on any of the records you
22   reviewed?
23                       MR. WEIL:          Object to form.
24               A.      Right.
25               Q.      (BY MS. KINKADE)              The next page, the

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 27 of 105    Page
WILEY, et al. v. YOUNG, et al.               ID #1315
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                      Page 157

 1   first examination date is June 22nd, 2017; do you
 2   see that?
 3               A.      Yes.
 4               Q.      You put in 16 diameters?
 5               A.      16 millimeters under diameter?
 6               Q.      Sorry.        Yes, correct.
 7               A.      Yes.
 8               Q.      And you put in 16 millimeters to try and
 9   reach a doubling time of 130 days?
10               A.      Right.
11               Q.      And that 16 millimeters is not based on
12   anything you saw in the records, correct?
13                       MR. WEIL:          Object to form.
14               A.      Correct.
15               Q.      (BY MS. KINKADE)              The next page, the
16   first examination date is January 4, 2017.
17               A.      Yes.
18               Q.      You put in 12 millimeters to attempt to
19   reach 130-day doubling time?
20               A.      Yes.
21               Q.      And that 12 millimeters is not based on
22   anything you reviewed in the records, correct?
23               A.      Correct.
24               Q.      The next page is June 3rd, 2016.                            You
25   put a diameter of 8 millimeters; is that right?

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 28 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1316
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 158

 1               A.      Yes.
 2               Q.      And you did that in attempt to reach
 3   130-day doubling time?
 4               A.      Yes.
 5               Q.      And that 8 millimeters is not based on
 6   anything you reviewed in the records, correct?
 7               A.      Correct.
 8               Q.      The next page is June 22nd, 2017, and
 9   you put a diameter of 27 millimeters?
10               A.      Yes.
11               Q.      And were you trying to reach a doubling
12   time of 213 days?
13               A.      Yes.       211 days is the median doubling
14   time of colon cancer in Dr. Burke's study, with a
15   range of 112 to 404.                    But I thought it would be
16   interesting for you to see if this was an average
17   colon cancer, which it wasn't, it was a
18   poorly-differentiated tumor, the difference in
19   size based on that.
20               Q.      And that 27 millimeters in diameter is
21   not based on anything you saw in the records,
22   correct?
23               A.      Correct.
24               Q.      The next page is January 4, 2017, and
25   you put 22 millimeters; is that right?

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 29 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1317
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 159

 1               A.      Yes.
 2               Q.      In an attempt to reach a doubling time
 3   of 218 days?
 4               A.      Yeah, as close as I could to 211,
 5   uh-huh.
 6               Q.      And that 22 millimeters is not based on
 7   anything that you reviewed in the records,
 8   correct?
 9               A.      Correct.
10               Q.      Looks like there's one more.                      June 3rd,
11   2016, on the last page; do you see that?
12               A.      Yes, I do.
13               Q.      You put a diameter of 18 millimeters; is
14   that right?
15               A.      Yes.
16               Q.      And you did that in an attempt to reach
17   211 days doubling time?
18               A.      Right.
19               Q.      And that 18 millimeters is not based on
20   anything that you reviewed in the records,
21   correct?
22               A.      Correct.
23               Q.      Did you do anything else to prepare your
24   doubling time calculation of growth on page 27 of
25   your report?

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 30 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1318
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 160

 1               A.      Excuse me.          Did I do anything else?
 2               Q.      Yes.
 3               A.      No.      You're seeing the conclusions there
 4   summarized.
 5               Q.      So this doubling time calculation is
 6   solely based on the computations from radclass
 7   that we just looked at in Exhibit 3?
 8               A.      Yes.       Those are the numbers summarized.
 9               Q.      And the reason -- So you'll see on the
10   left, there's different dates given, right?
11               A.      Yes.
12               Q.      Those aren't 112 days apart?
13               A.      What?
14               Q.      Those dates are not 112 days apart from
15   each other?
16               A.      No.      Those are just the pertinent dates
17   in the medical records we just discussed.
18               Q.      And those are the dates you decided to
19   put into the calculator on the radclass website?
20               A.      Yes.
21               Q.      You'd agree with me that per this
22   computation that you did, the diameter of the
23   tumor is not doubling every 112 days, correct?
24               A.      It's a logarithmic formula, so I depend
25   on the formula.                 I don't -- That -- It's a

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 31 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1319
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 161

 1   logarithmic formula.
 2               Q.      First just answer the question, you
 3   would agree that this chart you made, the tumor is
 4   not doubling in diameter every 112 days?
 5               A.      It's a volume measurement, not diameter.
 6   But you can calculate diameter instead of volume.
 7                       MR. WEIL:          Object to form.
 8               Q.      (BY MS. KINKADE)              On your chart at the
 9   top of page 27, there's no volumes listed; is that
10   correct?
11               A.      Correct.         We just want to know the
12   diameter.
13               Q.      Can you tell me the volume of this tumor
14   on any of these days?
15               A.      No.      I don't have all those three
16   dimension.
17               Q.      What you're measuring in this chart is
18   the diameter, correct?
19               A.      Correct.
20               Q.      And according to this chart, the
21   diameter is not doubling every 112 days, correct?
22               A.      It's the volume that's doubling every
23   112 days.
24               Q.      I'm going to ask my question again.
25                       According to this chart, the tumor is

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 32 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1320
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 162

 1   not doubling in diameter every 112 days; isn't
 2   that right?
 3               A.      The measurement is volume, not diameter,
 4   but you can calculate diameter on the formula.
 5               Q.      You keep saying that, but that's not
 6   what my question is.                    So the question is about the
 7   chart that you have listed.
 8               A.      Yeah.
 9               Q.      The chart you have listed is tumor
10   measurements by millimeter, right?
11               A.      Yes.
12               Q.      Millimeter is a measurement of distance?
13               A.      It's a measurement, correct.
14               Q.      And it's a measurement that you use to
15   calculate the diameter of a tumor?
16               A.      At different time periods, we use this
17   formula, yes.
18               Q.      According to this chart, on June 3rd,
19   2016, under the 120 days column, you have the
20   tumor being 6 millimeters?
21               A.      You mean 112 days?
22               Q.      Yes.
23               A.      Yes.       It was approximately 6 millimeters
24   6/3/16.
25               Q.      And on January 4th, 2017, you have the

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 33 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1321
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 163

 1   tumor being 9.3 millimeters?
 2               A.      Yes.
 3               Q.      And on June 22nd, 2017, you have the
 4   tumor being 13 millimeters?
 5               A.      Yes, with a doubling time of 112 days.
 6               Q.      From June 3rd to January 4th, how much
 7   time has passed?
 8               A.      About six months.              Let's see.           Six,
 9   seven months.
10               Q.      In your chart, in seven months, the
11   tumor has not doubled in size; is that correct?
12               A.      The volume doubling time, I
13   really -- I'm so sorry.                      I don't know how to tell
14   you this differently.                     It's a volume measurement
15   with a logarithmic formula.                        So those are the best
16   numbers that I can give you.                         I can't explain it
17   otherwise.              I'm not a mathematician.                   I apologize.
18               Q.      I understand.            I'm asking you about what
19   you wrote on your chart.
20               A.      Yes.
21               Q.      So what you wrote on your chart is that
22   in seven months, Mr. McCullough's tumor did not
23   double in diameter, correct?
24               A.      The tumor increased from 6 millimeters
25   to 9.3, 6/3/16 to 1/4/17, roughly, with a 112-day

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 34 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1322
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 164

 1   doubling time.
 2               Q.      And that is not -- So that indicates,
 3   according to your chart, that his tumor did not
 4   double in diameter in seven months, correct?
 5               A.      I'm sorry.          I don't know how to answer
 6   you otherwise.                 I apologize.          I've given you the
 7   best answer I can.
 8               Q.      What is -- I mean, I think the problem
 9   is you're trying to answer a different question
10   than the one I'm asking.
11                       Is there something about my question
12   that you're not understanding?
13               A.      Yeah.       I don't think you're
14   understanding that this is a volume measurement
15   and that these are diameters and that the
16   calculator can give you diameters or volume
17   depending on what you put in, that it increased
18   with 112-day doubling time from 6 to 9.3 from 6/3
19   to 1/4.           I don't have anything else to tell you.
20   That's all I can tell you.
21               Q.      And I'm not asking about any of those
22   things.           I'm not asking -- I'll ask you about
23   volume next, and then you can tell me you don't
24   know what the volume is.                       But right now, I'm
25   asking you about diameter, because that's the only

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 35 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1323
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 165

 1   data you've provided in this chart, right?
 2               A.      Yes.
 3               Q.      You don't provide volume?
 4               A.      Correct.
 5               Q.      So the data you provide in this chart
 6   shows that Mr. McCullough's tumor did not double
 7   in size every seven months, correct?
 8               A.      What I gave you in the chart is for
 9   112-day doubling time, volume doubling time.                                    It
10   increased from 6 millimeters to 9.3 millimeters,
11   6/3/16 to 1/4/17.                  That's what I gave you.
12               Q.      And that, according to you, his tumor
13   did not double in size in seven months' time?
14               A.      It went from 6 to 9.3 from June 3rd to
15   1/4, okay?
16               Q.      What was its volume on June 3rd, 2016?
17               A.      I don't have the volume.
18               Q.      What was the volume of his tumor on
19   January 4th, 2017?
20               A.      I don't have the volume.
21               Q.      What the volume on June 22nd, 2017?
22               A.      I don't have the volume.
23               Q.      What was the volume on June 28, 2019?
24               A.      I don't have the volume.
25               Q.      Is there any way that you can determine

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 36 of 105       Page
WILEY, et al. v. YOUNG, et al.               ID #1324
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                         Page 166

 1   it?
 2               A.      No.
 3               Q.      At any of these times?
 4               A.      No.
 5               Q.      What is the correlation between the size
 6   and the volume of a colorectal cancer?
 7               A.      I don't know how to answer that.                            I
 8   don't know what you mean.
 9               Q.      Well, if -- Here, it appears to me that
10   you're attempting to measure volume by diameter,
11   right?
12               A.      No.      The computer uses diameter.
13               Q.      It uses diameter to --
14               A.      You can use diameter or volume to
15   calculate the doubling times.
16               Q.      Since you didn't have volume, you used
17   the diameter --
18               A.      Yes.
19               Q.      -- to calculate the doubling time for
20   the volume of the tumor?
21               A.      Right.        These are volume doubling times.
22               Q.      So there must be some correlation
23   between diameter and volume that can allow you to
24   cross-reference for one set of data to represent
25   the other?

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 37 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1325
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 167

 1               A.      Yeah.       I'm -- I'm not a mathematician.
 2   The logarithmic formula is -- I just don't
 3   understand it.                 I'm so sorry.
 4               Q.      If you don't know, that's a valid
 5   answer.
 6               A.      Thank you.
 7               Q.      So in your -- Do you know if one
 8   measurement is more accurate than the other to
 9   calculate doubling time?                       And by that, I mean
10   either diameter or volume.
11               A.      I don't know.            I don't think so.
12               Q.      Can you tell me how the doubling time
13   formula was discovered?
14               A.      Oh, boy.         It was a great paper in 1956.
15   I've looked at it, but it's been years since I've
16   looked at it.                I just know it's a logarithmic
17   formula.
18               Q.      Do you know what methodology they used
19   in determining the doubling time?
20               A.      I just know it's a logarithmic formula.
21               Q.      So you don't know what methodology they
22   use to determine that logarithmic formula?
23               A.      I just know it's a logarithmic formula.
24               Q.      Is this formula also known as
25   exponential growth formula?

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
     Case 3:21-cv-00599-DWD         Document 197-1 Filed 10/22/24   Page 38 of 105   Page
WILEY, et al. v. YOUNG, et al.               ID #1326
                                            8/16/2024                        DR. JUDY SCHMIDT

                                                                                     Page 168

 1               A.      I don't know.
 2               Q.      Is it also known as Collins' law?
 3               A.      Yeah, Collin has worked on it, I know.
 4               Q.      Do you -- When I did a search for what
 5   this formula is, it revealed that the formula is
 6   DT=(ln 2)/r; are you familiar with that?
 7               A.      I don't remember the formula.                       I'm so
 8   sorry.          I just know it's logarithmic.
 9               Q.      And what do you mean when you say it's
10   logarithmic?
11               A.      There's logarithmic components to the
12   formula.
13               Q.      What do you mean by that?
14               A.      I don't know logs anymore.                     I'm not a
15   mathematician.                 I just know it's what's called
16   logarithmic.
17               Q.      Do you know what any of the symbols in
18   the formula mean?
19               A.      I just know it's a logarithmic formula.
20   I'm not able to give you any more specifics about
21   the formula.
22               Q.      I'm going to come back to it in a
23   second.
24                       These Memorial Sloan results that you
25   provided today, do these relate to doubling time?

                                 JEFFRIES COURT REPORTING, INC.
                                          (406) 721-1143
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 39 of 105   Page
                                  ID #1327
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 40 of 105   Page
                                  ID #1328
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 41 of 105   Page
                                  ID #1329
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 42 of 105   Page
                                  ID #1330
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 43 of 105   Page
                                  ID #1331
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 44 of 105   Page
                                  ID #1332
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 45 of 105   Page
                                  ID #1333
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 46 of 105   Page
                                  ID #1334
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 47 of 105   Page
                                  ID #1335
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 48 of 105   Page
                                  ID #1336
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 49 of 105   Page
                                  ID #1337
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 50 of 105   Page
                                  ID #1338
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 51 of 105   Page
                                  ID #1339
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 52 of 105   Page
                                  ID #1340
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 53 of 105   Page
                                  ID #1341
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 54 of 105   Page
                                  ID #1342
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 55 of 105   Page
                                  ID #1343
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 56 of 105   Page
                                  ID #1344
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 57 of 105   Page
                                  ID #1345
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 58 of 105   Page
                                  ID #1346
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 59 of 105   Page
                                  ID #1347
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 60 of 105   Page
                                  ID #1348
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 61 of 105   Page
                                  ID #1349
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 62 of 105   Page
                                  ID #1350
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 63 of 105   Page
                                  ID #1351
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 64 of 105   Page
                                  ID #1352
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 65 of 105   Page
                                  ID #1353
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 66 of 105   Page
                                  ID #1354
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 67 of 105   Page
                                  ID #1355
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 68 of 105   Page
                                  ID #1356
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 69 of 105   Page
                                  ID #1357
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 70 of 105   Page
                                  ID #1358
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 71 of 105   Page
                                  ID #1359
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 72 of 105   Page
                                  ID #1360
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 73 of 105   Page
                                  ID #1361
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 74 of 105   Page
                                  ID #1362
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 75 of 105   Page
                                  ID #1363
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 76 of 105   Page
                                  ID #1364
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 77 of 105   Page
                                  ID #1365
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 78 of 105   Page
                                  ID #1366
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 79 of 105   Page
                                  ID #1367
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 80 of 105   Page
                                  ID #1368
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 81 of 105   Page
                                  ID #1369
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 82 of 105   Page
                                  ID #1370
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 83 of 105   Page
                                  ID #1371
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 84 of 105   Page
                                  ID #1372
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 85 of 105   Page
                                  ID #1373
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 86 of 105   Page
                                  ID #1374
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 87 of 105   Page
                                  ID #1375
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 88 of 105   Page
                                  ID #1376
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 89 of 105   Page
                                  ID #1377
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 90 of 105   Page
                                  ID #1378
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 91 of 105   Page
                                  ID #1379
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 92 of 105   Page
                                  ID #1380
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 93 of 105   Page
                                  ID #1381
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 94 of 105   Page
                                  ID #1382
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 95 of 105   Page
                                  ID #1383
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 96 of 105   Page
                                  ID #1384
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 97 of 105   Page
                                  ID #1385
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 98 of 105   Page
                                  ID #1386
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 99 of 105   Page
                                  ID #1387
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 100 of 105   Page
                                   ID #1388
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 101 of 105   Page
                                   ID #1389
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 102 of 105   Page
                                   ID #1390
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 103 of 105   Page
                                   ID #1391
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 104 of 105   Page
                                   ID #1392
Case 3:21-cv-00599-DWD   Document 197-1 Filed 10/22/24   Page 105 of 105   Page
                                   ID #1393
